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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                        CRIMINAL ACTION


VERSUS                                                                          NO. 13-205


PERRY WILSON                                                                    SECTION: "E" (2)


                                    ORDER AND REASONS

        This is criminal action charging twelve defendants with violations of the

Racketeer Influenced Corruption Organization Act ("RICO"),1 the Violent Crimes in Aid

of Racketeering Act ("VICAR"),2 the Federal Controlled Substances Act ("FCS"),3 and

the Federal Gun Control Act ("FGC").4 One of the named defendants—Perry Wilson

("Wilson")—moves to quash the indictment on double jeopardy grounds.5                                 The

questioned presented is whether Wilson's prior guilty pleas in state court prohibit the

filing of charges in federal court. As explained more fully below, the answer is no for

two reasons. First, prosecution in federal court is proper under the dual sovereignty

doctrine. Second, the elements of Wilson's federal offenses differ from the elements of

his state offenses.
1 18 U.S.C. § 1961 et seq.
2 18 U.S.C. § 1959.
3 21 U.S.C. § 841 et seq.
4 18 U.S.C. § 921 et seq.
5 R. Doc. 201.  Wilson's motion is a gaunt, two-page document utterly devoid of legal citation or coherent
legal argument. The Court can only speculate that Wilson attempts to invoke the double jeopardy
protections of the Fifth Amendment. To the extent Wilson argues the charges against him are
inconsistent with the Justice Department's Petite policy, that argument is easily dismissed for two
reasons. First, the policy does not apply where, as here, the indictment charges a conspiracy(ies) that
"do[es] not represent substantially the whole of the . . . federal charge[s]." See United States Attorneys'
Manual 9-2.0301(B), http://www.justice.gov/usao/eousa/foia_reading_room/usam/title9/2mcrm.htm.
The majority of the charges in the indictment relate to Count 1—a RICO conspiracy in which Wilson is not
a named defendant. Second, and more importantly, "[c]ourts have consistently held that the Petite policy
is an internal rule of the Justice Department; criminal defendants may not invoke it to bar prosecution by
the federal government." United States v. Harrison, 918 F.2d 469, 475 (5th Cir. 1990).

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                                           BACKGROUND

        Over the past three years, Wilson has pleaded guilty to several offenses in state

court, to wit: possession of marijuana (twice), resisting an officer (twice), illegal use of a

weapon, illegal carrying of a weapon, and possession of an unidentifiable firearm.6 The

indictment in this Court charges Wilson and eleven others with (1) conspiracy to

distribute and possess with the intent to distribute crack cocaine, heroin, and

marijuana, and (2) conspiracy to possess and use firearms in furtherance of the drug

conspiracy.

                                        LEGAL STANDARD

         The Double Jeopardy Clause of the Fifth Amendment prohibits successive

prosecutions for the same offense after conviction.7 The defendant bears the initial

burden of establishing a prima facie claim of double jeopardy.8 If the defendant carries

that burden, the government must demonstrate by a preponderance of the evidence the

crime charged is separate from the crime to which jeopardy has already attached.9

                                       LAW AND ANALYSIS

        It is well established that the proscription against double jeopardy does not apply

to prosecutions by separate sovereigns,10 unless the defendant can establish that

"prosecution by one sovereign is used as a tool for successive prosecution by another

sovereign."11      The State of Louisiana is a separate sovereign from the Federal



6 See R. Doc. 201-5.
7 United States v. Jones, 733 F.3d 574, 580 (5th Cir. 2013).
8 United States v. Njoku, 737 F.3d 55, 69 (5th Cir. 2013).
9 United States v. Tovar, 719 F.3d 376. 382 (5th Cir. 2013).
10 See United States v. Villanueva, 40 F.3d 193, 201 (5th Cir. 2005) ("The Double Jeopardy Clause only

bars successive prosecutions by the same sovereign."); United States v. Moore, 958 F.2d 646, 650 (5th
Cir. 1992) ("It is well-established that a double jeopardy claim cannot be raised when an individual is
prosecuted for the same act that violates the laws of dual sovereigns.").
11 United States v. Sollis, 299 F.3d 420, 435 (5th Cir. 2002) (internal quotation marks omitted)


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Government for purposes of double jeopardy.12               Accordingly, the Double Jeopardy

Clause presents no barrier to prosecution in federal court absent evidence of collusion

between federal and state law enforcement officials.13 Wilson has presented no such

evidence in this case.

       But even if he had, Wilson's motion would fail on the merits. Double jeopardy

claims are evaluated under the "same-elements" or "Blockburger" test.14                    A court

applying this test focuses on the statutory elements of the offenses charged,15

specifically, whether "each offense . . . contains[s] an element not contained in the

other."16 If so, there is no double jeopardy violation.17 Wilson's federal conspiracy

charges require proof of an element his state crimes do not: an unlawful agreement

between two or more persons.18 Accordingly, Wilson is properly charged in federal

court.19

                                        CONCLUSION

       Wilson's double jeopardy argument has no basis in law.

       Given the foregoing;

       IT IS ORDERED that the Motion is DENIED.




12 See Heath v. Alabama, 474 U.S. 82, 89 (1985) ("[T]he [Supreme] Court has uniformly held that the

States are separate sovereigns with respect to the Federal Government because each State's power to
prosecute is derived from its own inherent sovereignty, not from the Federal Government.") (internal
quotation marks omitted).
13 See United States v. McKinney, 53 F.3d 664, 676 (5th Cir. 1995).
14 United States v. Dixon, 509 U.S. 688, 696 (1993).
15 United States v. Austin, 660 F.3d 880, 887 (5th Cir. 2011).
16 United States v. Sharpe, 193 F.3d 852, 863 (5th Cir. 1999).
17 Id.
18 See United States v. Harris, 740 F.3d 956, 962—63 (5th Cir. 2014).
19 Cf. Tovar, 710 F.3d at 384 (rejecting double jeopardy claim where defendant was separately charged

with a drug conspiracy and substantive offenses arising out of that conspiracy).

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  New Orleans, Louisiana, this 11th day of November, 2014.



                      ________________________________
                               SUSIE MORGAN
                        UNITED STATES DISTRICT JUDGE




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